
PER CURIAM.
As we did in Stretcher v. State, 803 So.2d 813 (Fla. 4th DCA 2001), we affirm the denial of appellant’s rule 3.850 motion and certify as a question of great public importance the same question certified in Major v. State, 790 So.2d 550, 553 (Fla. 3d DCA 2001):
WHETHER THE TRIAL COURT OR COUNSEL HAVE A DUTY TO ADVISE A DEPENDANT THAT HIS PLEA IN A PENDING CASE MAY HAVE SENTENCE ENHANCING CONSEQUENCES IF THE DEFENDANT COMMITS A NEW CRIME IN THE FUTURE?
SHAHOOD, GROSS and HAZOURI, JJ., concur.
